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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff

v.                                              Case No. 24-30477
                                                Originating No. 24CR73

DEREK D. JONES,


                Defendant.
_____________________________________/

                         GOVERNMENT’S PETITION
                     FOR TRANSFER OF DEFENDANT TO
                  ANOTHER DISTRICT AND SUPPORTING BRIEF


       Pursuant to Rule 5(c)(3)(D) of the Federal Rules of Criminal Procedure, the

United States of America hereby petitions the Court for an order transferring defendant

DEREK D. JONES, to answer to charges pending in another federal district,

and states:

       1. On November 5, 2024, defendant was arrested in the Eastern District

Michigan in connection with a federal arrest warrant issued in the Eastern District of

Tennessee based on a Superseding Indictment. Defendant is charged in that district

with violations of 21 USC Sections 846 and 841(a)(1) – Conspiracy to Distribute

Fentanyl and Distribution of Fentanyl.

       2. Rule 5 requires this Court to determine whether defendant is the person

named in the arrest warrant and is entitled to a preliminary examination as described in

Paragraph One above. See Fed. R. Crim. P. 5(c)(3)(D)(ii).
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      WHEREFORE, the government requests this Court to conduct transfer

proceedings in accordance with Rule 5 of the Federal Rules of Criminal Procedure.


                                              Respectfully submitted,

                                              DAWN N. ISON
                                              United States Attorney


                                              s/Sean King
                                              SEAN KING
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Dated: November 5, 2024
